      6:20-cv-02276-HMH             Date Filed 08/25/21     Entry Number 68      Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 GREENVILLE DIVISION

RODERICK DRENNON,                                 )
                                                  )
                       Plaintiff,                 )
                                                  )
       v.                                         )     C. A. No. 6:20-cv-02276-HMH-JDA
                                                  )
KEMET CORPORATION                                 )
and S.B. PHILLIPS COMPANY, INC.,                  )
                                                  )
                       Defendants.                )
                                                  )

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, the Parties hereby agree

and stipulate that this action should be dismissed with prejudice. The Parties shall bear their own

attorneys’ fees, expenses, and costs.

       Respectfully submitted this 25th day of August, 2021.

FOR PLAINTIFF:                                        FOR DEFENDANTS:

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